Case 1-19-40024-cec Doc11-3 Filed 02/22/19 Entered 02/22/19 16:41:51

Exhibit B

{6916095:3 }20190013

 
Case 1-19-40024-cec Doc11-3 Filed 02/22/19 Entered 02/22/19 16:41:51

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re:

CASE #: 1-19-40024-cec
MD A Kashem CHAPTER 7

Debtor(s).

 

 

RELIEF FROM STAY — REAL ESTATE AND
COOPERATIVE APARTMENTS

BACKGROUND INFORMATION

1. ADDRESS OF REAL PROPERTY OR COOPERATIVE APARTMENT:

168-46 89th Avenue
Jamaica, NY 11432

2. LENDER NAME: Wells Fargo Bank, N.A. as servicing agent for HSBC Bank USA,
National Association as Trustee for Nomura Asset Acceptance Corporation, Mortgage
Pass-Through Certificates, Series 2005-AP3

3. MORTGAGE DATE: February 10, 2005

4, POST-PETITION PAYMENT ADDRESS:
Wells Fargo Home Mortgage
Attention: Bankruptcy Payment Processing.
One Home Campus
MAC F2302-04C
Des Moines, IA 50328

DEBT/VALUE REPRESENTATIONS

5. TOTAL PRE-PETITION AND POST-PETITION INDEBTEDNESS OF DEBTOR(S)
TO MOVANT AT THE TIME OF FILING THE MOTION: $601,934.01 as of February 13,
2019

(THIS MAY NOT BE RELIED UPON AS A “PAYOFF” QUOTATION)

{6916095:3 }20190013

 
Case 1-19-40024-cec Doc11-3 Filed 02/22/19 Entered 02/22/19 16:41:51

6. MOVANT ESTIMATED MARKET VALUE OF THE REAL PROPERTY OR
COOPERATIVE APARTMENT AS OF THE MOTION FILING DATE: $660,000.00

7. SOURCE OF ESTIMATED VALUE: BPO/Appraisal

STATUS OF DEBT AS OF THE PETITION DATE

8. DEBTOR(S)’S INDEBTEDNESS TO MOVANT AS OF THE PETITION DATE

A. TOTAL: $599,269.99
B. PRINCIPAL: $341,494.36
C. INTEREST: $191,863.69
D. ESCROW (TAXES AND INSURANCE): $52,111.52
E. FORCED PLACED INSURANCEEXPENDED BY MOVANT: $0.00

F. PRE-PETITION ATTORNEYS FEES, CHARGED TO DEBTOR(S): $6,574.96
G. PRE-PETITION LATE FEES CHARGED TO DEBTOR(S): $870.30

9, CONTRACTUAL INTEREST RATE: 6.875%

10. PLEASE EXPLAIN ANY ADDITIONAL PRE-PETITION FEES, CHARGES OR
AMOUNTS CHARGED TO DEBTOR’S/DEBTORS’ ACCOUNT AND NOT LISTED
ABOVE: Title Fees $1,122.56, Publication Costs $3,622.60, Filing Fees $635.00, Clerk
Costs $40.00, Referee Fees $250.00, Recording Fees $70.00, BPO $255.00, Inspection
Fees$360.00

 

(If additional space is needed, please list the amounts on a separate sheet and attach the sheet as an exhibit to this form;

please list the exhibit number here: <#>.)

AMOUNT OF POST-PETITION DEFAULT AS OF THE MOTION FILING DATE

11. DATE RECEIPT OF LAST PAYMENT: August 21, 2015

12. NUMBER OF PAYMENTS DUE FROM PETITION DATE TO MOTION FILING
DATE: 1 PAYMENT(S)

13. POST-PETITION PAYMENTS IN DEFAULT:

{6916095:3 }20190013

 
Case 1-19-40024-cec

Doc 11-3 Filed 02/22/19 Entered 02/22/19 16:41:51

 

 

 

 

AMOUNT AMOUNT AMOUNT AMOUNT LATE FEE

PAYMENT| AMOUNT RECEIVED | APPLIEDTO | APPLIEDTO | APPLIED TO | CHARGED

DUE DATE DUE PRINCIPAL INTEREST ESCROW (ir ANY)
02/01/2019 ($3,045.43 $0.00 $0.00 $0.00 $0.00 $0.00
(TOTALS: $3,045.43 $0.00 $0.00 $0.00 $0.00 $0.00

 

 

 

 

 

 

 

 

14 OTHER POST-PETITION FEES CHARGED TO DEBTOR(S):

A. Total

*
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B. ATTORNEYS’ FEES IN CONNECTION WITH THIS MOTION:

C. FILING FEE IN CONNECTION WITH THIS MOTION:

D. OTHER POST-PETITION ATTORNEYS’ FEES:

E. POST-PETITION INSPECTION FEES:

F. POST-PETITION APPRAISAL/BROKER’S PRICE OPINION FEES:

G. FORCED PLACED INSURANCE EXPENDED BY MOVANT:

15. AMOUNT HELD IN SUSPENSE BY MOVANT

$0.00
$0.00
$0.00
$0.00
$0.00
$0.00
$0.00

$0.00

16. OTHER POST-PETITION FEES, CHARGES OR AMOUNTS CHARGED TO DEBTOR(S)’S ACCOUNT
AND NOT LISTED ABOVE:N/A

{6916095:3 }20190013

 
Case 1-19-40024-cec Doc11-3 Filed 02/22/19 Entered 02/22/19 16:41:51

REQUIRED ATTACHMENTS TO MOTION

Please attach the following documents to this motion and indicate the exhibit number associated with the documents.

(1) Copies of documents that indicate Movant’s interest in the subject property. For purposes of example only,
a complete and legible copy of the promissory note or other debt instrument together with a complete and
legible copy of the mortgage and any assignments in the chain from the original mortgagee to the current
moving party.

(Exhibit A.)

(2) Copies of documents establishing proof of standing to bring this Motion. (Exhibit A.)
(3) Copies of documents establishing that Movant’s interest in the real property or cooperative apartment was
perfected. For the purposes of example only, a complete and legible copy of the Financing Statement

(UCC-1) filed with either the Clerk’s Office or the Register of the county the property or cooperative
apartment is located in. (Exhibit A.)

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{6916095:3 }20190013

 

 
Case 1-19-40024-cec Doc11-3 Filed 02/22/19 Entered 02/22/19 16:41:51

DECLARATION AS TO BUSINESS RECORDS

I,___ Vanessa Carolina Hualde____, THE VICE PRESIDENT LOAN DOCUMENTATION OF WELLS FARGO
BANK, N.A. AS SERVICING AGENT FOR HSBC BANK, USA, NATIONAL ASSOCIATION AS TRUSTEE FOR NOMURA ASSET
ACCEPTANCE CORPORATION, MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-AP3, THE MOVANT HEREIN,
DECLARE PURSUANT TO 28 U.S.C. SECTION 1746 UNDER PENALTY OF PERJURY THAT THE
INFORMATION PROVIDED IN THIS FORM AND ANY EXHIBITS ATTACHED HERETO (OTHER THAN THE
TRANSACTIONAL DOCUMENTS ATTACHED AS REQUIRED BY PARAGRAPHS 1, 2, AND 3, ABOVE) IS DERIVED
FROM RECORDS THAT WERE MADE AT OR NEAR THE TIME OF THE OCCURRENCE OF THE MATTERS SET FORTH BY,
OR FROM INFORMATION TRANSMITTED BY, A PERSON WITH KNOWLEDGE OF THOSE MATTERS; THAT THE RECORDS
WERE KEPT IN THE COURSE OF THE REGULARLY CONDUCTED ACTIVITY; AND THAT THE RECORDS WERE MADE
IN THE COURSE OF THE REGULARLY CONDUCTED ACTIVITY AS A REGULAR PRACTICE.

I FURTHER DECLARE THAT COPIES OF ANY TRANSACTIONAL DOCUMENTS ATTACHED TO THIS FORM AS
REQUIRED BY PARAGRAPHS 1, 2, AND 3, ABOVE, ARE TRUE AND CORRECT COPIES OF THE ORIGINAL DOCUMENTS.

EXECUTED AT FORT MILL, SOUTH CAROLINA ON THIS 15th DAY OF February, 2019

 

NAME: Vanessa Carolina Hualde

VICE PRESIDENT LOAN DOCUMENTATION

WELLS FARGO BANK, N.A. AS SERVICER FOR HSBC
BANK USA, NATIONAL ASSOCIATION AS TRUSTEE FOR
NOMURA ASSET ACCEPTANCE CORPORATION,
MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
2005-AP3

3476 STATEVIEW BLVD
FORT MILL, SOUTH CAROLINA 29715

DECLARATION

I, Vanessa Carolina Hualde . , THE VICE PRESIDENT LOAN DOCUMENTATION OF

WELLS FARGO BANK, N.A. AS SERVICING AGENT FOR.
HSBC BANK, USA, NATIONAL ASSOCIATION AS TRUSTEE FOR NOMURA ASSET ACCEPTANCE CORPORATION,

MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-AP3, THEMOVANT HEREIN, DECLARE
PURSUANT TO 28 U.S.C. SECTION 1746 UNDER PENALTY OF PERJURY THAT THE FOREGOING IS
TRUE AND CORRECT BASED ON PERSONAL KNOWLEDGE OF THE MOVANT’S BOOKS AND

BUSINESS RECORDS.

EXECUTED AT FORT MILL, SOUTH CAROLINA ON THIS 15th___ DAY OF February, 2019

dH

NAME: Vanessa Carolina Hualde

 

 

 

VICE PRESIDENT LOAN DOCUMENTATION

Wells Fargo Bank, N.A., as servicer for HSBC BANK
USA, NATIONAL ASSOCIATION AS TRUSTEE FOR
NOMURA ASSET ACCEPTANCE CORPORATION,
MORTGAGE PASS-THROUGH CERTIFICATES,
SERIES 2005-AP3

3476 STATEVIEW BLVD

FORT MILL, SOUTH CAROLINA 29715
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